                UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                       WESTERN DIVISION
                     File No.: 5:18-CR-01-FL-1

UNITED STATES OF AMERICA,      |
                               |        MEMORANDUM OF LAW
vs.                            |        IN SUPPORT OF DEFENDANT’S
                               |        PRO SE MOTION FOR
RENEE CHRISTINE BORUNDA        |        COMPASSIONATE RELEASE
_______________________________|

      RENEE CHRISTINE BORUNDA, by and through counsel, submits the

following Memorandum to aid the Court in deciding her pro se Motion for

Compassionate Release under 18 U.S.C. § 3582(c)(1)(A) that she filed on 28

September 2020 (DE 56).



      Jurisdiction

      The district court’s authority to grant compassionate release or a sentence

reduction is found at 18 U.S.C. § 3582(c). A defendant may qualify for a

modification in her sentence due to certain age, health, or family circumstance

factors. 18 U.S.C. § 3582(c)(1)(A). Before the passage of the First Step Act on

21 December 2018 (see Pub. L. 115-391, 132 Stat. 5194), the discretion to file a

motion for compassionate release under § 3582(c)(l)(A) rested entirely with the

Director of the Bureau of Prisons (BOP). After 21 December 2018, Section 603

of the First Step Act amended 18 U.S.C. § 3582(c)(l)(A) to provide that a



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defendant may request compassionate release from the sentencing court after

exhausting her administrative remedies within the prison. Compassionate

release may be available to defendants where (1) extraordinary and compelling

circumstances warrant a reduction in the sentence or (2) a defendant who is

serving a sentence imposed pursuant to 18 U.S.C. § 3559(c) is at least seventy

years old and has served at least thirty years in prison. 18 U.S.C. §

3582(c)(l)(A)(i)-(ii). Ms. Borunda is moving under the first category:

extraordinary and compelling circumstances.

      A reduction under either section must be consistent with applicable

policy statements issued by the United States Sentencing Commission. Id. at

(c)(l)(A). When reducing a term of imprisonment via compassionate release, a

court “may impose a term of probation or supervised release with or without

conditions that does not exceed the unserved portion of the original term of

imprisonment[.]” Id.

      The commentary to § 1B1.13 of the United States Sentencing

Commission’s advisory Guidelines Manuel provides criteria for determining

whether extraordinary and compelling circumstances exist. U.S.S.G. § 1B1.13,

comment. n.1. These criteria generally concern the age, medical condition, or

family circumstances of the defendant. Id. However, this section of the

Guidelines has not been updated to reflect the changes of the First Step Act and



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it likely will not be updated anytime soon. See United States v. Maumau, No.

2:08-CR-00758-TC-11, 2020 WL 806121, at *2, n.3 (D. Utah Feb. 18, 2020)

(noting that the Sentencing Commission currently has an insufficient number of

appointed commissioners). Nonetheless, the now-outdated U.S.S.G. §1B1.13

policy statement “does not constrain” a court’s “independent assessment of

whether ‘extraordinary and compelling reasons’ warrant a sentence reduction

under § 3582(c)(1)(A)(i).” Id at **4-5 (internal citation omitted).

      In addition to considering whether extraordinary and compelling

circumstances are present, a court must further consider the 18 U.S.C. § 3553(a)

factors and determine whether the defendant is a danger to the safety of another

person or the community as provided in 18 U.S.C. § 3142(g). U.S.S.G. §

lBl.13.

      In sum, Ms. Borunda must show (1) exhaustion of administrative

remedies, (2) the existence of extraordinary and compelling circumstances, and

(3) justification under the 18 U.S.C. § 3553(a) sentencing factors.



      Background

      Ms. Borunda was named in a two-count criminal information filed on 2

January 2018 charging conspiracy to commit health care fraud and aggravated

identity theft (DE 29 p 3). On 13 March 2018, she waived indictment and pled



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guilty to both counts pursuant to a plea agreement (DE 29 p 3). On 7

November 2018, the Court sentenced her to 37 months in prison and three years

of supervised release (DE 49 pp 2-3). The Court authorized her to self-

surrender to custody on 12 February 2019 (DE 54). She filed her motion for

compassionate release on 28 September 2020 (DE 56).



      Exhaustion of Administrative Remedies

      A defendant must have “exhausted all administrative rights to appeal a

failure of the BOP to bring a motion on the defendant’s behalf or the lapse of 30

days from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier[.]” 18 U.S.C. § 3582(c)(l)(A). Other district

courts have dismissed compassionate release motions for failure to exhaust

administrative remedies. See, e.g., United States v. Safford, No. 1:17-CR-

00193, 2020 U.S. Dist. LEXIS 98352 at *4-5 (S.D.W.V. June 4, 2020). They

often do so based on the need to first ascertain the BOP’s expertise on the

matter. See id (“removing the BOP’s expertise is unwise”). On the other hand,

some district courts have found the requirement to be waivable in light of the

COVID-19 pandemic. See e.g., United States v. Ferebee, No. 2:10-CR-4-BO-1,

at p 3 (E.D.N.C. Jul. 29, 2020) (“Given the exigencies created by COVID-19,

the Court finds that exhaustion would be both futile and potentially subject



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defendant to undue prejudice. The Court therefore concludes that § 3582(c)’s

exhaustion requirement is appropriately waived.”).

      On 11 August 2020, Ms. Borunda submitted a request for compassionate

release to her prison warden (DE 56-8 p 2). On 13 August 2020, the warden

denied her request (DE 56-8 p 2). The letter denying her request noted that she

had a right to appeal the decision but it does not appear she has done so. In her

pro se compassionate release motion, she wrote that she had submitted a request

for compassionate release to her warden and that 30 days had elapsed since she

had done so (DE 56 p 41). It appears she may have misunderstood the

exhaustion of administrative remedies requirement. Nonetheless, given the

urgency of her serious health conditions and her exposure to COVID-19, she

submits it would be futile to do so at this point. She respectfully asks the Court

to find that she has exhausted her administrative remedies or waive the

exhaustion of administrative remedies requirement and find that her motion for

compassionate release is now properly before the Court.



      Extraordinary and Compelling Circumstances

      The Guidelines provide four categories of circumstances that are

extraordinary and compelling. The first concerns the medical condition of the

defendant (section A). The second concerns the age of the defendant (section



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B). The third concerns the family circumstances of the defendant (section C).

The fourth is a catchall provision, which permits the BOP Director to identify

other extraordinary circumstances that are not set out by the Guidelines (section

D). U.S.S.G. § lBl.13, comment. n.1 (A)-(D).

      Ms. Borunda is moving under the fourth category. She submits that her

exposure to the current COVID-19 pandemic that is ravaging our federal prison

system coupled with her underlying medical conditions equates to compelling

and extraordinary circumstances. The Centers for Disease Control and

Prevention (CDC) has identified ten underlying medical conditions (risk

factors) that put SARS-Cov-2/COVID-19 positive people at an increased risk of

severe illness or death. See www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html?CDC_AA_refVal=https

%3A%2F%2Fwww.cdc.gov %2Fcoronavirus%2F2019-ncov%2Fneed-extra-

precautions%2Fgroups-at-higher-risk.html (last visited 26 October 2020).

These risk factors include obesity, which is defined as a body mass index (BMI)

of 30 kilograms per meter squared or higher. Id.



      Exposure to COVID-19

      Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2), also

known as the “novel coronavirus,” is a strain of coronavirus that causes a viral



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pneumonia known as coronavirus disease 2019 (COVID-19), the respiratory

illness responsible for the current COVID-19 pandemic. See

https://en.wikipedia.org/wiki/Severe_acute_respiratory_syndrome_coronavirus

_2. The World Health Organization declared the outbreak a pandemic on 11

March 2020. Id. As described by the United States National Institutes of

Health, it is the successor to SARS-CoV-1, the strain that caused the 2002–

2004 SARS outbreak. SARS-CoV-2 is contagious in humans. Id. The virus

primarily spreads between people through close contact and via respiratory

droplets produced from coughs or sneezes. Id.

      What makes SARS-Cov-2 particularly dangerous is that it is highly

contagious and no one appears to be immune from it. “One of the novel

coronavirus’s biggest advantages is how easily it spreads from human to

human. [. . ..] Even before symptoms develop, infected people can spread this

virus by speaking, singing, coughing and breathing out virus-laden droplets in

close proximity to others. [. . ..] [E]veryone in the world is likely susceptible to

it[.]” See https://www.npr.org/ sections/goatsandsoda/2020/07/29/888957450/

why-the-novel-coronavirus-has-the-power-to-launch-a-pandemic.

Epidemiological studies estimate that each infection results in 1.4 to 3.9 new

infections when no members of the community are immune and no preventive

measures are taken. See https://en.wikipedia.org/wiki/Severe_acute_



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respiratory_syndrome_coronavirus_2. This infection rate may be higher in

densely populated conditions. Id. By comparison, SARS-Cov-1 had an

infection rate of between 0.19 and 1.08. See https://en.wikipedia.org/wiki/

Basic_reproduction_number.

      COVID-19 has also proven to be deadly. The current mortality rate in

the United States is estimated to be 68.84 deaths per 100,000 people. See

https://coronavirus.jhu.edu/data/mortality (last visited 26 October 2020).

COVID-19 has infected more than 8.6 million people and killed more than

225,000 people in the United States alone. Id. While the mortality rate does

not seem particularly high, the fact that COVID-19 is so contagious will still

result in large numbers of people becoming infected and, in turn, dying from the

disease. By all accounts, the COVID-19 pandemic has overwhelmed the United

States of America. One federal district court described it thusly: “COVID-19

has paralyzed the entire world. The disease has spread exponentially, shutting

down schools, jobs, professional sports seasons, and life as we know it.”

United States v. Rodriguez, No. 2:03-cr-00271-AB-1, 2020 US Dist LEXIS

58718, at *1 (E.D. Pa. Apr. 1, 2020).

      COVID-19 is also ravaging America’s federal prison system. See

www.bop.gov/coronavirus. The BOP has over 125,000 inmates and

approximately 36,000 staff members. Id. Currently, 2,000 inmates and 863



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staff members are positive for COVID-19. Id (as of 26 October 2020). Nearly

15,000 inmates and more than 1,300 staff members have recovered from it. Id.

One hundred and twenty-eight (128) inmates and two staff members have died

from it. Id.

       Ms. Borunda is currently housed at the Alderson Federal Prison Camp

(FPC) in Alderson, West Virginia. See https://www.bop.gov/ inmateloc/.

Alderson FPC has over 540 female inmates. https://www.bop.gov/locations/

institutions/ ald/. As of 26 October 2020, three inmates had confirmed COVID-

19 test results. See www.bop.gov/coronavirus. However, in her 30 September

2020 pro se compassionate release motion, Ms. Borunda attached letters from

two fellow inmates indicating that they had developed COVID-19-like

symptoms but yet FPC Alderson refused to test them for COVID-19 (DE 56-6).

Thus, the COVID-19 numbers shown for FPC Alderson on the official BOP

website may be underestimates of the current COVID-19 prevalence at that

facility.

       The CDC has found that many conditions of detention create a

heightened risk of infection to detainees—including insufficient space to

quarantine, highly congregational or shared environments, insufficient on-site

medical staff, frequent coming and going of staff members, and limited ability

of prisoners to exercise effective disease prevention measures such as social



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distancing and frequent hand washing. See Interim Guidance on Management

of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention

Facilities, Centers for Disease Control and Prevention at www.cdc.gov/

coronavirus/2019-ncov/community/correction-detention/guidance-correctional-

detention.html (last visited 10 June 2020); Basank v. Decker, No. 20 CIV. 2518

(AT), 2020 WL 1481503, at *5 (S.D.N.Y. Mar. 26, 2020) (“[t]he risk of

contracting COVID-19 in tightly-confined spaces, especially jails [and prisons],

is now exceedingly obvious.”)

      In her pro se compassionate release motion, Ms. Borunda wrote that her

housing unit was a large open area with doorless cubicles with dividing walls

that failed to reach the ceiling (DE 56 p 5). The cubicles contained bunk beds

that are spaced closer than six feet apart (DE 56 p 5). Inmates share everything,

including bathroom facilities, telephones, televisions, and computers (DE 56 p

5). Inmates stand elbow to elbow at sinks and telephones (DE 56 p 5). FPC

Alderson staff members have made no effort to create greater distances between

inmates (DE 56 p 5). There is an insufficient amount of disinfectant supplies to

sterilize sinks, toilets, phones, computers, et cetera after each use (DE 56 p 6).

Inmates are also required to share bars of soap to wash their hands; they have

not been supplied with hand sanitizer (DE 56 p 6). Ms. Borunda’s fellow

inmates corroborate this description in their letters (DE 56-6). Given that FPC



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Alderson has cases of COVID-19, it is reasonable to believe that Ms. Borunda’s

description is accurate. Given the conditions at FPC Alderson, Ms. Borunda is

unable to self-care due to an inability to protect herself from a COVID-19

infection, which could lead to severe illness or even death given her

comorbidities.

      Further, Alderson, West Virginia is located in Greenbrier and Monroe

counties. See https://en.wikipedia.org/wiki/Alderson,_West_Virginia. In June

2020, the Greenbrier County Church suffered an outbreak of 17 cases of

COVID-19. See https://dhhr.wv.gov/News/2020/Pages/COVID-19-Outbreak-

Confirmed-in-Greenbrier-County-Church.aspx. It is likely that staff members

from FPC Alderson are leaving the prison, going into the community, getting

exposed to COVID-19, and then bringing the disease back to the prison to

expose inmates that are unable to protect themselves. This is yet another

example of Ms. Borunda’s increased risk during the COVID-19 pandemic.



      Risk Factors

      Ms. Borunda is now 38 years old (DE 29 p 2). At the time she was

sentenced, her presentence report (PSR) indicated she was five feet, six inches

tall and weighed 280 pounds (DE 29 p 2). According to the CDC’s online BMI

calculator, that gave her a BMI of 45.19. See https://www.cdc.gov/widgets/



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healthyliving/index.html#bmicalculator. Her recent prison medical records

indicate that her weight was 242 pounds on 2 March 2020 (Exh A pp 6-7).

Thus, her BMI has dropped to 39.06. Still, the CDC website indicates that a

BMI of 30 or higher is one of the ten risk factors that place someone at an

increased risk of severe illness or death with COVID-19 exposure. In fact, the

CDC posts on its website that obesity may triple the risk of hospitalization due

to a COVID-19 infection. See https://www.cdc.gov/obesity/data/obesity-and-

covid-19.html. The CDC notes that obesity decreases lung capacity and

reserve, which makes ventilation more difficult. Id. With increased obesity

comes an increased risk of death. Id. Thus, Ms. Borunda is at an increased risk

of death due to her obesity, which is borderline severe.

      In her pro se compassionate release motion, Ms. Borunda cited a number

of other cases holding that obesity amounts to extraordinary and compelling

circumstances (DE 56 pp 20-21). Other courts are in agreement that obesity

can support a conclusion as to the existence of extraordinary and compelling

circumstances. United States v. Handy, 3:10-cr-00128-RNC-8, 2020 WL

2487371 (D. Conn. May 14, 2020); United States v. Barber, 6:18-cr-00446-

AA,2020 WL 2404679 (D. Or. May12, 2020); United States v. Hunt, 2:18-cr-

20037-DPH-DRG, 2020 WL 2395222 (E.D. Mich. May 12, 2020); United

States v. Ullings,1:10-cr-00406-MLB-1, 2020 WL 2394096 (N.D. Ga. May12,



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2020); United States v. Foreman, 3:19-cr-00062-VAB-1, 2020 WL 2315908

(D. Conn. May11, 2020); United States v. Jenkins, 99-cr-00439-JLK-1, 2020

WL 2466911 (D. Co. May 8, 2020); United States v. Quintero, 6:08-cr-06007-

DGL-1,2020 WL 2175171 (W.D. N.Y. May 6, 2020); United States v. Howard,

4:15-cr-00018-BR-2, 2020 WL 2200855 (E.D.N.C. May 6, 2020); United States

v. Lacy, 3:15-cr-30038-SEM-TSH-1, 2020 WL 2093363 (C.D. Ill. May 1,

2020); United States v. Ardila, 3:03-cr-00264-SRU-1, 2020 WL 2097736 (D.

Conn. May 1, 2020); United States v.Delgado, 3:18-cr-00017-VAB, 2020 WL

2464685 (D. Conn. Apr 30, 2020); United Statesv. Dillard, 1:15-cr-170-SAB,

Dkt. No. 71 (D. Idaho Apr. 27, 2020); United Statesv. Joling, 6:15-cr-00113-

AA-1, 2020 WL 1903280 (D. Or. Apr. 17, 2020); United Statesv. Trent, 3:16-

cr-00178-CRB-1,2020 WL 1812242 (N.D. Cal. Apr.9, 2020); United States

v.Zukerman, 1:16-cr-00194-AT-1,2020 WL 1659880 (S.D. N.Y. Apr. 3, 2020).

Also per Ms. Borunda’s pro se motion for compassionate release, the

Government seems to have conceded that a BMI above 30 can warrant a

sentence reduction during the COVID-19 pandemic (DE 56-4).

      In addition to obesity, Ms. Borunda also cited her mental health as being

another risk factor placing her at a greater risk of severe illness with a COVID-

19 exposure (DE 56 pp 21-23). She indicates she suffers from a major

depressive disorder (DE 56 p 23). Her recent prison medical records



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corroborate that she suffers from a recurrent major depressive disorder (Exh A

pp 2, 20). Her PSR also shows that she suffers from lifelong mental health

issues associated with past trauma (DE 29 p 12).

      The CDC has not identified mental health problems as an underlying

medical condition that places COVID-19 positive people at an increased risk of

severe illness or death. However, the attached declaration of Paul Good, PhD,

and Terry Kupers, MD, shows that the mentally unhealthy are at an increased

risk of severe illness or death while incarcerated in prison due to exposure to

COVID-19 (Exh B). It shows that mentally unhealthy prisoners are especially

susceptible to COVID-19 for multiple reasons (Exh B p 3-6). The COVID-19

pandemic exacerbates stress levels in everyone but mentally unhealthy

prisoners are less capable of withstanding the additional anxiety (Exh B p 4).

Such prisoners are more likely to think illogically, have disorganized thought

processes, and experience delusions and hallucinations (Exh B p 6). Such

prisoners will likely have more difficulty following quarantine protocols and

thereby place themselves and others at higher risk of infection (Exh B p 6). The

prison’s containment (quarantine) protocols also exacerbate mentally unhealthy

prisoners’ mental health problems (Exh B pp 6-9). Drs. Good and Kupers

recommend reduction of the prison population to help alleviate these problems

(Exh B p 11). Ms. Borunda also cited three cases in her pro se motion for



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compassionate release showing where other courts relied on mental health

issues in concluding the existence of extraordinary and compelling

circumstances during the COVID-19 pandemic (DE 56 pp 21-22).

      Ms. Borunda submits that her obesity and major depressive disorder

while she is incarcerated during the COVID-19 pandemic increase her risk of

serious illness or death. The combination of multiple risk factors that increase

risk coupled with exposure to COVID-19 and an inability to self-isolate and

frequently hand-wash and use a toilet, sink, shower, phone, and computer that

no one else is using make it difficult for Ms. Borunda to care for herself during

the COVID-19 pandemic. She has thus demonstrated extraordinary and

compelling circumstances under U.S.S.G. §1B1.13, note 1(A)(ii)(I) (“The

defendant is suffering from a serious physical or medical condition that

substantially diminishes the ability of the defendant to provide self-care within

the environment of a correctional facility and from which he or she is not

expected to recover.”)



      18 U.S.C. § 3553(a) Sentencing Factors

      Nature and Circumstances of the Offense

      Ms. Borunda engaged in healthcare fraud and identity theft associated

with the healthcare fraud (DE 29 pp 5-8). She was found responsible for a loss



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of more than $225,000 (DE 29 p 8). The entirety of that amount is owed to the

North Carolina Medicaid Program (DE 29 p 8). The victim of the identity theft

did not suffer a financial loss (DE 29 p 8). According to her recent prison

progress report, she has started paying on this restitution but still has a balance

greater than $225,000.00 (Exh C p1). There was no evidence of the use of

violence or coercion on Ms. Borunda’s part. Ms. Borunda accepted

responsibility for her crimes and expressed remorse (DE 29 p 8). Although

these were serious offenses, Ms. Borunda appears to have taken her federal

convictions seriously and her contrition appears to be legitimate as evidenced

by her rehabilitation efforts described below.



      History and Characteristics of the Defendant

      Ms. Borunda suffered violent trauma as a young child (DE 29 p 11). She

is the daughter of a military man and her family moved frequently but

ultimately she and her siblings settled in North Carolina after coming of age

(DE 29 p 11). She graduated from high school in Farmville, North Carolina in

2000 (DE 29 p 13). Although never married, she has three children, who are

currently living with relatives (DE 29 pp 11-12; DE 56 p 36). Ms. Borunda’s

criminal history prior to the federal crimes consists of misdemeanor offenses

only (DE 29 pp 9-10).



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      Ms. Borunda’s compassionate release motion indicates she is employed

in the prison kitchen as a cook (DE 56 pp 32-33). Her prison progress report

confirms this (Exh C p 1). Her good performance in that job resulted in her

recent promotion to lead cook (DE 56 pp 32-33).

      Although she is not currently enrolled in any classes, she has completed

many classes in the past (Exh C p 2). She attached certificates of completion to

her pro se compassionate release motion confirming this (DE 56-7). She is on

the waiting list for future classes (Exh C p 2). Her prison progress report

indicates she has received one unspecified incident report since her last progress

meeting (Exh C p 2). In her pro se compassionate release motion, she asserted

that she has maintained “relatively good conduct” since her incarceration (DE

56 p 33). Ms. Borunda was on pretrial release for approximately a year before

self-reporting to Alderson FPC in February 2019 (DE 56 p 35). She complied

with all pretrial release conditions and timely reported to prison as required (DE

56 p 35).

      Ms. Borunda’s projected release date is in September 2021 (Exh D p 1).

With credit dating back to February 2019, she has served more than 50% of full

prison term (Exh D p 3). As she wrote in her compassionate release motion,

she is not seeking to avoid the remainder of her prison term (DE 56 p 37). She

is merely seeking to serve it in a safer environment (DE 56 p 37). The 19



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months she has already served in prison is still significant enough to give her a

greater appreciation for the seriousness of her offenses.

      Ms. Borunda’s release plan is to live with her brother in Goldsboro,

North Carolina (DE 56 p 39). The brother lives with his girlfriend and her three

children (DE 56 p 39). The children spend two weeks a month with their father

in a separate home (DE 56 p 39). Ms. Borunda would have her own room, thus

enabling her to better socially distance from others (DE 56 p 39). After Ms.

Borunda moves in with her brother, her two sons will join her (DE 56 p 40).

Ms. Borunda will home-school them while she simultaneously works from

home for an apparel company (DE 56 p 40). She will perform bookkeeping,

marketing, and other business-related duties (DE 56 p 40). In general, she will

be exposed to fewer people and better able to maintain a more medically-safe

environment than she can at FPC Alderson.

      In sum, Ms. Borunda’s history and characteristics show she is a

nonviolent offender whose progress while in prison indicates she has a low

likelihood of recidivism. She has a plan for reintegration back into the

community. She is proposing to move into a supportive situation. The

combination of her history and characteristics show she is unlikely to present a

danger to the safety of other persons within the community.




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      Needs of the Sentence to Reflect Seriousness, Deterrence, etc.

      Ms. Borunda received a 37-month prison sentence (DE 49 p 2). She has

served more than 50% of that sentence (Exhibit D p 3). She is within a year of

release without compassionate early release. Her sentence was driven by the

dollar amount associated with her crimes (DE 29 p 16). She was ordered to pay

a substantial amount of restitution (DE 49 p 7). If released, she will be better

able to pay down that amount of restitution. While she fraudulently acquired a

lot of money, Ms. Borunda submits that she has served enough of her sentence

to appreciate the seriousness of her offenses. She has been removed from her

community and her children for nearly two years. Given her health problems,

the current state of the COVID-19 pandemic, and the risk it poses to people

living in close proximity to one another, it is unlikely Ms. Borunda’s ongoing

health, educational, and vocational needs are being adequately met in the prison

environment. They could be achieved just as effectively if not more so in a

community setting outside of prison where she can better self-care. She will

have better ability to socially distance from others, frequently wash her hands,

prepare her own meals, use a bathroom used by only a few others, take walks

outdoors in fresh air, and socialize with people that truly care for her. Ms.

Borunda submits that the sentence she has already served more than adequately




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reflects the seriousness of her offenses and has provided just punishment for her

crimes.



      Kinds of Sentences Available

      Ms. Borunda was required to serve a two-year prison sentence on the

identity theft and she was in Zone D of the Sentencing Chart for the other

offense when originally sentenced (DE 29 pp 16-17). Zone D also requires a

prison sentence followed by supervised release. The identity theft sentence

must run consecutive to the other sentence (DE 29 pp 16-17).

      However, the Court can now reduce a term of imprisonment via

compassionate release or “impose a term of probation or supervised release

with or without conditions that does not exceed the unserved portion of the

original term of imprisonment[.]” 18 U.S.C. § 3582(c)(1)(A). The Court can

also convert a portion of the supervised released term to home confinement if

the Court believes additional confinement punishment is necessary. See id.

The Court has the authority to reduce the term of imprisonment, not just release

Ms. Borunda outright. Id. Theoretically, the Court could convert the remainder

of Ms. Borunda’s sentence to probation. Ms. Borunda submits that a sentence

reduction would be consistent with the sentencing guidelines.




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      Conclusion

      Ms. Borunda respectfully asks the Court to order a sentence reduction to

time served and/or that the remainder of her prison sentence be served while on

probation or post release supervision.



      Respectfully submitted this 28th day of October, 2020.

                                /s/ Richard Croutharmel
                                Richard Croutharmel
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                        CERTIFICATE OF SERVICE

      I certify that I filed and served the foregoing MEMORANDUM IN

SUPPORT OF PRO SE MOTION FOR COMPASSIONATE RELEASE

electronically with Clerk of Court for the United States District Court for the

Eastern District of North Carolina using the CM/ECF system which will send

notice of such filing to the following registered CM/ECF users: Joshua Royster,

Assistant United States Attorney.

      This 28th day of October, 2020.

                                 /s/ Richard Croutharmel
                                 Richard Croutharmel
                                 Attorney for Defendant
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